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                                                                   U.S. Department of Justice
                                                                   Civil Division, Federal Programs Branch
                                                                   950 Pennsylvania Ave., NW
                                                                   Washington, DC 20530



By ECF                                                                                 March 8, 2024
The Honorable Frederic Block
United States District Judge
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 10007

        Re:      Tanya Asapansa-Johnson Walker, et al. v. Xavier Becerra, et al, No. 20-cv-02834 (FB) (VMS)

Dear Judge Block:
          On behalf of the parties to this Action, undersigned counsel respectfully submit this status report
letter as to the ongoing administrative rulemaking proceedings of the United States Department of Health
and Human Services (“HHS”) implementing Section 1557 of the Affordable Care Act. HHS published a
proposed rule implementing Section 1557 of the Affordable Care Act in the Federal Register on August
4, 2022. Nondiscrimination in Health Programs and Activities, 87 Fed. Reg. 47,824 (Aug. 4, 2022). HHS
has submitted a draft of the final rule to the Office of Management and Budget Office of Information and
Regulatory Affairs (“OIRA”). OIRA received the draft final rule on December 21, 2023. The status of
the rule is available at this website: https://www.reginfo.gov/public/do/eoDetails?rrid=354213.

                                                             Respectfully submitted,

        EDWARD J. JACOBS                                     BRIAN M. BOYNTON
                                                             Principal Deputy Assistant Attorney General
        /s/ Edward J. Jacobs
        Baker & Hostetler LLP                                MICHELLE R. BENNETT
        45 Rockefeller Plaza                                 Assistant Branch Director
        New York, New York 10111
        Telephone: (212) 589-4200                            /s/ Liam C. Holland
        Facsimile: (212) 589-4201                            LIAM C. HOLLAND
        Email: ejacobs@bakerlaw.com                          Trial Attorney
                                                             United States Department of Justice
        Counsel for Plaintiffs                               Civil Division, Federal Programs Branch
                                                             1100 L Street NW
                                                             Washington, D.C. 20005
                                                             Telephone: (202) 514-4964
                                                             Facsimile: (202) 616-8470
                                                             Email: Liam.C.Holland@usdoj.gov

                                                             Counsel for Defendants
